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 1   LAWRENCE G. BROWN
     Acting United States Attorney
 2   MICHAEL M. BECKWITH
     Assistant U.S. Attorney
 3   501 I Street, Suite 10-100
     Sacramento, California 95814
 4   Telephone: (916) 554-2797
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 7
 8              IN THE UNITED STATES DISTRICT COURT FOR THE
 9                     EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,        )
                                      )   CR. S-07-0515 WBS
12             Plaintiff,             )
                                      )   STIPULATION AND [PROPOSED] ORDER
13                                    )   CONTINUING STATUS CONFERENCE AND
          v.                          )   EXCLUDING TIME
14                                    )
     ARMANDO CHAVEZ,                  )
15   ALEX HERNANDEZ,                  )
     JUAN VILLA, JR., and             )
16   MARICELLA VILLA,                 )
                                      )
17             Defendants.            )   Hon. William B. Shubb
                                      )
18
19
          The parties request that the status conference currently set
20
     for May 11, 2009, be continued to May 26, 2009 at 8:30 a.m., and
21
     stipulate that the time beginning May 11, 2009, and extending
22
     through May 26, 2009, should be excluded from the calculation of
23
     time under the Speedy Trial Act.         The parties submit that the
24
     ends of justice are served by the Court excluding such time, so
25
     that counsel for each defendant may have reasonable time
26
     necessary for effective preparation, taking into account the
27
     exercise of due diligence.    18 U.S.C. § 3161(h)(8)(B)(iv); Local
28

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 1   Code T4.
 2         The parties are in the process of discussing and negotiating
 3   the various plea offers in this case.       Each defendant will need
 4   time to consider his or her offer in light of the discovery.           As
 5   such, the attorneys for each defendant need more time to review
 6   the discovery in this case, discuss that discovery with their
 7   respective clients, consider new evidence that may affect the
 8   disposition of this case, conduct necessary legal research and
 9   investigation, and then discuss with their clients how to
10   proceed.   The parties stipulate and agree that the interests of
11   justice served by granting this continuance outweigh the best
12   interests of the public and the defendants in a speedy trial.          18
13   U.S.C. § 3161(h)(8)(A).
14                                           Respectfully Submitted,
15                                           LAWRENCE G. BROWN
                                             Acting United States Attorney
16
17   Dated: May 8, 2009                  By:/s/ Michael M. Beckwith
                                            MICHAEL M. BECKWITH
18                                          Assistant U.S. Attorney
19
     Dated: May 8, 2009                  By:/s/ Thomas A. Johnson
20                                          THOMAS A. JOHNSON
                                            Attorney for defendant
21                                          Armando Chavez
22
     Dated: May 8, 2009                  By:/s/ Michael B. Bigelow
23                                          MICHAEL B. BIGELOW
                                            Attorney for defendant
24                                          Alex Hernandez
25
     Dated: May 8, 2009                  By:/s/ Daniel M. Davis
26                                          DANIEL M. DAVIS
                                            Attorney for defendant
27                                          Juan Villa, Jr.
28   ///

                                         2
          Case 2:07-cr-00515-WBS Document 153 Filed 05/08/09 Page 3 of 3


 1   ///
     Dated: May 8, 2009                 By:/s/ Kresta N. Daly
 2                                         KRESTA N. DALY
                                           Attorney for defendant
 3                                         Maricella Villa
 4
 5
                                      ORDER
 6
          For the reasons stated above, the status conference in case
 7
     number CR. S-07-0515 WBS, currently set for May 11, 2009, is
 8
     continued to May 26, 2009 at 8:30 a.m.; and the time beginning
 9
     May 11, 2009, and extending through May 26, 2009, is excluded
10
     from the calculation of time under the Speedy Trial Act for
11
     effective defense preparation.     The Court finds that interests of
12
     justice served by granting this continuance outweigh the best
13
     interests of the public and the defendants in a speedy trial.         18
14
     U.S.C. § 3161(h)(8)(A) and (B)(iv).
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16
     IT IS SO ORDERED.
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18
     Dated:   May 8, 2009
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